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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Philip A. Brimmer


Civil Case No. 09-cv-02912-PAB-MEH

PEOPLE OF THE STATE OF COLORADO,

      Plaintiff,

v.

ROBERT RODARTE,
FRANKIE SALAZAR,
JOSE SALAZAR, and
JAMES CISNEROS,

      Defendants.


                                        ORDER


      This matter is before the Court on the motion to vacate, to quash, and for a

protective order [Docket No. 41] of the Federal Bureau of Investigation (“FBI”) and FBI

Special Agent Robert Goffi and the motion to dismiss of defendant Robert Rodarte

[Docket No. 34]. The motions are fully briefed and ripe for disposition.

I. BACKGROUND

      Defendants are being criminally prosecuted by the District Attorney’s Office in El

Paso County, Colorado. At the time of the alleged criminal activities, defendant

Rodarte was working as a confidential informant for the FBI as part of a larger interstate

gang investigation. Defendant James Cisneros served a subpoena on Special Agent

Robert Goffi in the state criminal proceedings, seeking the FBI’s confidential informant

file on Mr. Rodarte and any other information about Mr. Rodarte in the FBI’s
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possession. The FBI is not a party to the state prosecution. In response, the FBI

released certain documents it deemed relevant to the state criminal proceedings and

then moved to quash the subpoena to the extent it requested any other information.

The other defendants, including Mr. Rodarte, then served similar subpoenas on Special

Agent Goffi, who is not a Department of Justice official authorized to release such

information under 28 C.F.R. §§ 16.21-16.29.

       The state court ordered the FBI to disclose additional portions of the confidential

informant file, to which the FBI agreed. Thereafter, the state court held a hearing on

November 24, 2009, during which it ordered that the entire confidential informant file be

produced to all defendants, subject to two limited exceptions. The FBI filed a motion to

reconsider this order on December 2, 2009, which the state court denied on December

8, 2009. See St. Ct. Order Denying Mot. for Recons., Ex. D to Notice of Removal

[Docket No. 1]. The state court did grant the FBI’s request for a stay to permit the FBI

to remove the subpoena enforcement issue to this Court, which the FBI did on

December 11, 2009 pursuant to 28 U.S.C. § 1442(a).

II. DISCUSSION

       Section 1442(a)(1) of Title 28 of the United States Code provides that a “criminal

prosecution commenced in a State court against . . . the following may be removed by

them” to federal court: “The United States or any agency thereof or any officer . . . of

the United States or of any agency thereof, sued in an official or individual capacity for

any act under color of such office or on account of any right, title or authority claimed

under any Act of Congress for the apprehension or punishment of criminals or the

collection of the revenue.” Although the state court criminal proceeding is not “against”

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the FBI, the Court has removal jurisdiction over the limited issue of whether the state

court is empowered to enforce a subpoena enforcement order against Special Agent

Goffi pursuant to 28 U.S.C. § 1442(a)(1), a fact which none of the parties here denies.

See Pollock v. Barbosa Group, Inc., 478 F. Supp. 2d 410, 412 (W.D.N.Y. 2007)

(“Section 1442(a)(1) confers removal jurisdiction over a proceeding to enforce a

subpoena issued by a state court where removal is ‘predicated on the allegation of a

colorable federal defense.’”) (quoting Mesa v. California, 489 U.S. 121, 129 (1989));

see also Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 414 (D.C. Cir.

1995) (finding that § 1442(a)(1) provided the court with removal jurisdiction over a state

court subpoena enforcement proceeding against a federal officer); 16 James Wm.

Moore et al., Moore’s Federal Practice § 107.15[1][b][iii] (3d ed. 2010) (“Reasoning that

federal agencies and officers may remove actions that interfere with the performance of

their duties, [the Brown & Williamson court] held that federal agencies or officers may

remove a case based on the mere service of a subpoena.”).

       As defendant Rodarte correctly points out, the “only issue presented by this

removal action is whether this Court, based on derivative jurisdiction, can compel the

F.B.I. to disclose the information sought by the defendants’ subpoenas.” Def. Rodarte’s

Response [Docket No. 67] at 7. The FBI and Special Agent Goffi argue that the Court

cannot compel such disclosure. Three of the four defendants agree. See id. (“Neither

the state court nor this Court has jurisdiction to compel the federal officers to act

against their will.”);1 Def. F. Salazar’s Response [Docket No. 66] at 5 (“Because the


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       Defendant Rodarte has arguably taken inconsistent positions, asserting that the
Court has no authority to compel the federal officers to act and adopting the position of

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state trial court did not have jurisdiction to compel the FBI to release documents to the

defense, Mr. Salazar believes this Court should issue an order prohibiting the

dissemination of any such documents because the trial court lacked jurisdiction over

the relevant federal agency and agency documents.”); Def. J. Salazar’s Response

[Docket No. 70] at 4 (“[I]f the FBI maintains its objection, the subpoena should be

quashed and the informant filed not released.”).

       The Court agrees that the state court had no authority to compel production of

the FBI documents in question. See In re Elko County Grand Jury, 109 F.3d 554, 556

(9th Cir. 1997) (“[T]he state court lacked jurisdiction to subpoena [the federal official]

and could not have issued a bench warrant had he refused to comply with the

subpoena.”). Special Agent Goffi cannot be required by the state court to release

information in the absence of authorization from a superior. See In re Gray, No. 97-

6385, 1998 WL 712663, at *1 (10th Cir. Oct. 13, 1998) (citing United States ex rel.

Touhy v. Ragen, 340 U.S. 462, 467-70 (1951)); Houston Business Journal v. Office of

the Comptroller of the Currency, 86 F.3d 1208, 1212 & n.4 (D.C. Cir. 1996) (“[A] court

cannot enforce a subpoena against an employee of the federal governmental agency

when the agency has validly enacted a regulation . . . that withdraws from employees

the power to produce documents.”) (citing United States ex rel. Touhy v. Ragen, 340

U.S. 462, 467-69 (1951)). No such authorization was given here.



defendant Cisneros [Docket No. 68], who has requested that the federal court either
compel production or prevent the federal officers from testifying in the state court
proceedings. See Def. Cisneros’ Response [Docket No. 65] at 1. To the extent
defendant Rodarte adopts that view of defendant Cisneros, his argument fails for the
reasons discussed more fully below.

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       Defendant Cisneros argues that the “Supreme Court . . . has not ruled on the

issue of whether or not the Touhy regulations are constitutional applications of the

doctrine of sovereign immunity in the context of a criminal prosecution brought by the

state but investigated by and controlled by the federal government.” Def. Cisneros’

Response at 2. He then claims that the government’s invocation of its protections

under the Touhy regulations cannot come at the expense of defendant Cisneros’ proper

exercise of his Fifth and Sixth Amendment rights. Id. Without alleging that the FBI

investigated and controls the state prosecutions here, he therefore asks the Court to

“prohibit any federal governmental agent from testifying or providing other assistance in

[his] state court trial.” Id. at 3. The Tenth Circuit, in an unpublished decision

addressing this precise issue, did “not address the appellant’s claims that his

constitutional rights in the criminal proceedings will be compromised if we fail to enforce

the subpoena.” In re Gray, 1998 WL 712663, at *1. As the Court made clear, “[t]he

constitutional claims are not ripe for adjudication because he has other remedies

available. Those remedies may include dismissal of the charges or other ameliorative

action by the state court, or an action in federal court pursuant to the Administrative

Procedure Act.” Id. The same is true here.2 Defendants can make an Administrative




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        The FBI, in its reply [Docket No. 71], argues that this Court can reach the merits
of the state court’s determination that disclosure was warranted under Roviaro v. United
States, 353 U.S. 53 (1957). As the clear weight of authority now stands, the state court
had no jurisdiction to conduct the Roviaro analysis. Moreover, even if the FBI is correct
that the Court has “jurisdiction to consider the Roviaro analysis and privilege issues if it
chooses to,” the Court would choose not to engage in such analysis for the reasons
stated in In re Gray, No. 97-6385, 1998 WL 712663, at *1 (10th Cir. Oct. 13, 1998).

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Procedure Act request for the documents.3 And to the extent defendant Cisneros seeks

an order limiting testimony by the federal agents or imposing other ameliorative

measures in the state court trial, the Court is aware of nothing preventing him from

raising that argument directly to the state court judge overseeing those proceedings.

III. CONCLUSION

       Accordingly, it is

       ORDERED that the FBI’s Motion to Vacate, to Quash, and for a Protective Order

[Docket No. 41] is GRANTED in part and DENIED in part. It is further

       ORDERED that the state court order of December 8, 2009 compelling disclosure

is VACATED and the subpoenas served upon FBI Special Agent Goffi are QUASHED.

That portion of the FBI’s motion requesting this Court to enter a protective order is

DENIED. That issue is left to the state court judge. It is further

       ORDERED that defendant Rodarte’s motion to dismiss [Docket No. 34] is

DENIED.




       3
         See In re Elko County, 109 F.3d at 557 n.1 (“The appropriate means for
challenging the Department of Agriculture’s decision under Touhy is an action under the
Administrative Procedure Act in federal court.”); Houston Business Journal, Inc. v.
Office of the Comptroller of Currency, 86 F.3d 1208, 1212 (D.C. Cir. 1996) (“[A] state-
court litigant must request the documents from the federal agency pursuant to the
agency’s regulations . . . . If the agency refuses to produce the requested documents,
the sole remedy for the state-court litigant it to file a collateral action in federal court
under the APA.”); Pollock, 478 F. Supp. 2d at 413 -414 (“A party seeking release of
records from a federal agency must comply with the agency’s Touhy regulations by
making a proper demand, exhausting any administrative remedies, and otherwise
following the directives established by the agency. Once the requisite steps have been
taken, and the agency issues its ‘final’ determination regarding the release of records, a
dissatisfied party may seek redress by filing an action in federal court under the
Administrative Procedure Act. . . to review the agency’s decision.”).

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     DATED March 9, 2010.

                                        BY THE COURT:


                                        s/Philip A. Brimmer
                                        PHILIP A. BRIMMER
                                        United States District Judge




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